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 PROB 12C                                                                             Report Date: March 19, 2020
(6/16)

                                        United States District Court                                  FILED IN THE
                                                                                                  U.S. DISTRICT COURT
                                                                                            EASTERN DISTRICT OF WASHINGTON
                                                       for the
                                                                                             Mar 19, 2020
                                        Eastern District of Washington                           SEAN F. MCAVOY, CLERK


                    Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Jacob L. Peckham                         Case Number: 0980 2:17CR00195-WFN-1
 Address of Offender:                 Spokane, Washington 99217
 Name of Sentencing Judicial Officer: The Honorable Rosanna Malouf Peterson, U.S. District Judge
 Name of Supervising Judicial Officer: The Honorable Wm. Fremming Nielsen, Senior U.S. District Judge
 Date of Original Sentence: March 8, 2018
 Original Offense:        Escape from Custody, 18 U.S.C. §§ 751(a) and 4082(a)
 Original Sentence:       Prison - 4 months                 Type of Supervision: Supervised Release
                          TSR - 36 months
 Asst. U.S. Attorney:     James Goeke                       Date Supervision Commenced: July 27, 2018
 Defense Attorney:        Roger Peven                       Date Supervision Expires: July 26, 2021


                                         PETITIONING THE COURT

To issue a warrant and to incorporate the violation(s) contained in this petition in future proceedings with the
violation(s) previously reported to the Court on 11/16/2018.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

             4          Mandatory Condition # 1: You must not commit another Federal, state, or local crime.

                        Supporting Evidence: On March 18, 2020, at 1 a.m., Jacob Peckham committed the offense
                        of careless driving.

                        According to Idaho State Police incident report # 20-0617, on March 18, 2020, at 1 a.m.,
                        Idaho state troopers observed a 2011 Mercedes Benz C300, bearing Washington license plate
                        BHD9289, traveling 95 to 100 miles per hour westbound on Interstate 90 near mile post 7
                        in the State of Idaho. The trooper secured a radar reading of said vehicle traveling 94 and
                        95 miles per hour in a posted 70 miles per hour speed limit zone. Subsequently, the vehicle
                        was stopped, and the driver was identified as Jacob L. Peckham. Given the high rate of speed
                        Mr. Peckham was driving, he was cited for careless driving.

                        On July 30, 2018, Mr. Peckham was informed of his Court ordered conditions. He was given
                        a copy of his judgment and signed his judgment reflecting he understood his conditions in
                        full.
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          5      Mandatory Condition # 2: You must not unlawfully possess a controlled substance
                 including marijuana, which remains illegal under federal law.

                 Supporting Evidence: Jacob Peckham was arrested on March 18, 2020, by the Idaho State
                 Police for trafficking heroin.

                 According to Idaho State Police incident report # 20-0617, on March 18, 2020, at 1 a.m.,
                 Idaho State troopers observed a 2011 Mercedes Benz C300, bearing Washington license
                 plate BHD9289, traveling 95 to 100 miles per hour westbound on Interstate 90 near mile
                 post 7 in the State of Idaho. The trooper secured a radar reading of said vehicle traveling 94
                 and 95 miles per hour in a posted 70 miles per hour speed limit zone. Subsequently, the
                 vehicle was stopped, and the driver was identified as Jacob L. Peckham. Given the high rate
                 of speed Mr. Peckham was driving, he was cited for careless driving.

                 During the traffic stop, Mr. Peckham was acting extremely nervous, avoiding eye contact,
                 and his hand was trembling as he handed his driver’s license to the state trooper. When
                 questioned if he was on probation or parole, he stated he was not. However, Idaho state
                 troopers verified that he in fact is on federal probation. Given the totality of the
                 circumstances, a police K9 was requested at the traffic stop, and alerted on the presence of
                 the odor of illegal drugs. Troopers located a small baggy stuffed between the driver’s seat
                 and the center console that contained a solid dark colored substance. Said substance field
                 tested positive for heroin.

                 Jacob Peckham was arrested and booked into the Kootenai County Jail for the charge of
                 trafficking heroin. Charges remain pending at the time of this report.

                 On July 30, 2018, Mr. Peckham was informed of his court ordered conditions. He was given
                 a copy of his judgment and signed his judgment reflecting he understood his conditions in
                 full.
          6      Standard Condition #10: You must not own, possess, or have access to a firearm,
                 ammunition, destructive device, or dangerous weapon (i.e anything that was designed, or
                 was modified for, the specific purpose of causing bodily injury or death to another person
                 such as nunchakus or tasers).

                 Supporting Evidence: On March 18, 2020, Jacob Peckham was found to be in possession
                 of a loaded handgun magazine. Additionally, in the vehicle driven by Jacob Peckham, two
                 handguns were located.

                 According to Idaho State Police incident report # 20-0617, on March 18, 2020, at 1 a.m.,
                 Idaho state troopers observed a 2011 Mercedes Benz C300, bearing Washington license plate
                 BHD9289, traveling 95 to 100 miles per hour westbound on Interstate 90 near mile post 7
                 in the State of Idaho. The trooper secured a radar reading of said vehicle traveling 94 and
                 95 miles per hour in a posted 70 miles per hour speed limit zone. Subsequently, the vehicle
                 was stopped, and the driver was identified as Jacob L. Peckham. Given the high rate of speed
                 Mr. Peckham was driving, he was cited for careless driving.

                 During the traffic stop, Mr. Peckham was acting extremely nervous, avoiding eye contact,
                 and his hand was trembling as he handed his driver’s license to the state trooper. When
                 questioned if he was on probation or parole, he stated he was not. However, troopers verified
                 that he was in fact on federal probation. Given the totality of the circumstances, a police K9
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                 was requested at the traffic stop, and alerted on the presence of the odor of illegal drugs.
                 Officers located a small baggy stuffed between the driver’s seat and the center console that
                 contained a solid dark colored substance. Said substance field tested positive for heroin.

                 Prior to the search of Mr. Peckham’s vehicle on March 18, 2020, Mr. Peckham was patted
                 down by Idaho state troopers. Found in Jacob Peckham’s left front pocket, was a loaded
                 handgun magazine. Additionally, troopers located a handgun under the passenger seat of the
                 vehicle Mr. Peckham was driving and another handgun in the trunk of the vehicle Mr.
                 Peckham was driving. The loaded handgun magazine located in Mr. Peckham’s front left
                 pocket matched the handgun that was located under the front passenger seat.

                 On July 30, 2018, Mr. Peckham was informed of his court ordered conditions. He was given
                 a copy of his judgment and signed his judgment reflecting he understood his conditions in
                 full.
          7      Standard Condition # 3: You must not knowingly leave the federal judicial district where
                 you are authorized to without first getting permission from the court or the probation officer.

                 Supporting Evidence: As reflected in violation #5, Jacob L. Peckham was located in the
                 District of Idaho on March 18, 2020.

                 Jacob Peckham did not receive permission from the Court or the probation office to travel
                 outside of the Eastern District of Washington.

                 On July 30, 2018, Mr. Peckham was informed of his court ordered conditions. He was given
                 a copy of his judgment and signed his judgment reflecting he understood his conditions in
                 full.
          8      Special Condition # 4:You must undergo a substance abuse evaluation and, if indicated by
                 a licensed/certified treatment provider, enter into and successfully complete an approved
                 substance abuse treatment program, which could include inpatient treatment and aftercare.
                 You shall contribute to the cost of treatment according to your ability to pay. You shall allow
                 full reciprocal disclosure between the supervising officer and treatment provider.

                 Supporting Evidence: Jacob Peckham failed to attend substance abuse counseling at
                 Pioneer Counseling Center on March 13 and 16, 2020.

                 The undersigned officer received notification from Pioneer Counseling Center advising
                 Jacob Peckham failed to report for substance abuse counseling as scheduled on March 13
                 and 16, 2020.

                 On July 30, 2018, Mr. Peckham was informed of his court ordered conditions. He was given
                 a copy of his judgment and signed his judgment reflecting he understood his conditions in
                 full.


          9      Special Condition # 6: You must abstain from the use of illegal controlled substances, and
                 must submit to urinalysis and Breathalyzer testing as directed by the supervising officer,
                 but no more than six tests per month, in order to confirm continued abstinence from these
                 substances.
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